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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

ELIZABETH FREDERICK,

      Plaintiff,

v.                                                Case No.: 4:19cv162-MW/MAF

WALTER MCNEIL, as Sheriff of Leon
County, Florida, et al.,

     Defendants.
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         ORDER ACKNOWLEDGING NOTICE OF SETTLEMENT

      Plaintiff has filed a notice of settlement as to Sheriff McNeil only. ECF No.

135. The parties are ordered to file a stipulation of dismissal as to Plaintiff’s claims

against Sheriff McNeil or a status update in the event the parties have not finalized

their settlement papers on or before Thursday, September 15, 2022.

      This case is still pending against Misty Robertson, the sole remaining

Defendant and is set for trial on October 11, 2022. Accordingly, on or before

Wednesday, September 7, 2022, Plaintiff must file a status report indicating

whether she intends to proceed to trial against Defendant Robertson.

      SO ORDERED on September 1, 2022.

                                        s/Mark E. Walker                   ____
                                        Chief United States District Judge
